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Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 19 of 30 PagelD 327

MICHAEL DEMON JACKSON, 48182-177
BEAUMONT USP UNT: F/B QTR: FO3-304L
P. O. BOX 26035

BEAUMONT, TX 77720
Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 20 of 30 PagelD 328

FEDERAL CORRECTIONAL COMPLEX, BEAUMONT, TEXAS
PART B-RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY #1089196-F1

This is in response to your Request for Administrative Remedy
received on June 23, 2021, in which you request a “Compassionate
Release” under the “Cares Act.” Additionally, you indicate if
sentenced today, you would not have received the same sentence
due to intervening changes in law.

Title 18 of the United States Code, section 3582(c) (1) (A),
allows a sentencing court, on motion of the Director of the BOP,
to reduce a term of imprisonment for extraordinary or compelling
reasons. BOP Program Statement 5050.50, Compassionate
Release/Reduction in Sentence, Procedures for Implementation of
18 U.S.C. §§ 3582(c) (1) (A) and 4205(g), provides guidance on the
types of circumstances that present extraordinary or compelling
reasons, such as the inmate’s terminal medical condition;
debilitated medical condition; status as a “new law” elderly
inmate, an elderly inmate with medical conditions, or an “other
elderly inmate”; the death or incapacitation of the family
member caregiver of the inmate’s child; or the incapacitation of
the inmate’s spouse or registered partner. This request has
been evaluated consistent with this general guidance.

RIS consideration may be given to inmates, who have an
incurable, progressive illness or who have suffered a
debilitating injury from which they will not recover. After
reviewing your criminal history and your medical records. Your
submitted request does not meet the criteria.

To the extent you may be appealing this decision on the
"stacked" nature of your sentences, under Program Statement
5050.50, Compassionate Release/Reduction in Sentence,

Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g),
an inmate is allowed to initiate a request for consideration
under 18 U.S.C. § 3582(c) (1) (A) only when there are particularly
extraordinary or compelling circumstances which could not
reasonably have been foreseen by the court at the time of

sentencing.

The passage of the First Step Act does not meet these criteria.
If you believe the First Step Act may qualify you to relief,
please address the issue with your sentencing court directly,
subject to any time limits, which may be in effect to file such

claims.
Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 21 of 30 PagelD 329
FEDERAL CORRECTIONAL COMPLEX, BEAUMONT, TEXAS

PART B-RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY #1089196-F1
Page 2

Accordingly, your Request for Administrative Remedy is denied.

If you are not satisfied with this response, you may appeal to
the Regional Director at Bureau of Prisons, South Central
Region, South Central Regional Office, 344 Marine Forces Drive,
Grand Prairie, Texas 75051. Your appeal must be received in the
South Central Regional Office within 20 calendar days of the

date of this response.
§/t/202/

Warden Date

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Federal Bureau of Prisons

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From: Sdchi07 AU thael Dd 4B/5)-/77 FL US’ Banomont

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Part B- RESPONSE

RECEIVED
Warden's Office
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If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 mes cacy rN) respohger
ORIGINAL: RETURN TO INMATE CASE NUMBER: i | { C- a |
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Part C- RECEIPT
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APRII 19R9
Case 3:14-cr-00238-D. Document 90 Filed 09/25/23 Page 23 of 30 PagelD 33T

BMX1330.17A
September 12, 2012
Attachment A

DOCUMENTATION OF INFORMAL RESOLUTION ATTEMPT
Bureau of Prisons Program Statement No. 1330. 16, Administrative Remedy Program...
(December 31, 2007), requires, in most cases, that inmates attempt informal resolution of
grievances prior to filing a formal written complaint. This form shall be used to document
your efforts towards informally resolving your grievance.

Inmate Name: \ | acl(ss Reg. No.: HB IB2~172 Unit: F4

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Counselor’s Comments: 4 / bo bated
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Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 24 of 30 PagelD 332

Individualized Needs Plan - Program Review
Dept. of Justice / Federal Bureau of Prisons
Plan is for inmate: JACKSON, MICHAEL DEMON

(Inmate Copy)

SEQUENCE: 01895543

Team Date: 06-13-2023

racility: BMP BEAUMONT USP Proj. Rel. Date: 08-26-2056
Name: JACKSON, MICHAEL DEMON Proj. Rel. Mthd: GOOD CONDUCT TIME
Register No.. 48182-177 DNA Status: SEA07010 / 05-27-2015
Age: 45

Date of Birth: 07-04-1977
Detainers
Detaining Agency Remarks
TEXAS WARRANT# 219-81615-2015/ POSS CS PG 1G

WARRANT# 219-81797-2014-1/ THEFT PROP.

972-547-5134
Pending Charges

PROP.

STX TARRANT CO. SHERIFF'S OFFICE, FT. WORTH, TEXAS WARRANT# 1366243/ THEFT PROP UNDER 1500 (2 PRIORS)

COLLIN CO. SHERIFF'S OFFICE, MCKINNEY, TEXAS WARRANT# 219-81615-2015/ POSS CS PG 1G WARRANT# 219-81797-2014-1/ THEFT

Current Work Assignments

[Facl Assignment Description Start

BMP AM COOK AM COOK 03-21-2023

Current Education Information

[Facl Assignment Description Start

BMP ESL HAS ENGLISH PROFICIENT 06-12-2015

BMP GED HAS COMPLETED GED OR HS DIPLOMA 06-12-2015

Education Courses

SubFacl Action Description Start Stop

BMP CDL ACE CLASS 03-05-2023 CURRENT
BMP c CAREER DEVELOP. SAT.1:30P RPP6 03-01-2017 06-05-2017
BMP c CAREER DEVELOP. SAT.1:30P RPP6 11-20-2016 02-01-2017
BMP c RPP CORE 1 - HEALTH 09-06-2015 09-06-2015
Discipline History (Last 6 months)

[Hearing Date Prohibited Acts

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Current Care Assignments

[Assignment Description Start

CARE1 HEALTHY OR SIMPLE CHRONIC CARE 06-15-2015

CARE1-MH CARE1-MENTAL HEALTH 07-07-2015

Current Medical Duty Status Assignments

[Assignment Description Start

C19-T NEG COVID-19 TEST-RESULTS NEGATIVE 09-01-2020

NO PAPER NO PAPER MEDICAL RECORD 06-10-2015

REG DUTY NO MEDICAL RESTR--REGULAR DUTY 06-15-2015

YES F/S CLEARED FOR FOOD SERVICE 06-10-2015

Current Drug Assignments

[Assignment Description Start

DAP REFER DRUG ABUSE PROGRAM REFER 06-29-2015

ED COMP DRUG EDUCATION COMPLETE 09-21-2015

MAT PART MED ASSIST TRMT PARTICIPANT 04-03-2023

FRP Payment Plan

[Most Recent Payment Plan

Sentry Data as of 06-13-2023 Individualized Needs Plan - Program Review (Inmate Copy)

Page 1 of 4

Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 25 of 30 PagelD 333

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01895543
Dept. of Justice / Federal Bureau of Prisons Team Date: 06-13-2023
SSE Plan is for inmate: JACKSON, MICHAEL DEMON 48182-177
[Most Recent Payment Plan |
FRP Assignment: PART FINANC RESP-PARTICIPATES Start: 06-24-2015
Inmate Decision: AGREED $25.00 Frequency: QUARTERLY
Payments past 6 months: $50.00 Obligation Balance: $554,837.00
Financial Obligations
[No. Type Amount Balance Payable Status |
4 ASSMT $300.00 $0.00 IMMEDIATE COMPLETEDZ
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2 REST FV $555,287.00 $554,837.00 IMMEDIATE AGREED
(Adjustments: Date Added Facl Adjust Type Reason Amount |
06-10-2023 BMP PAYMENT INSIDE PMT $25.00
01-11-2023 BMP PAYMENT INSIDE PMT $25.00

FRP Deposits

Trust Fund Deposits - Past 6 months: $610.50 Payments commensurate ? Y
New Payment Plan: ** No data **

Current FSA Assignments

[Assignment Description Start |
FTC INELIG FTC-INELIGIBLE-REVIEWED 12-05-2019
INELIG AUT FTC-INELIGIBLE OFF CODE - AUTO 12-17-2019
N-ANGER Y NEED - ANGER/HOSTILITY YES 06-13-2023
N-ANTISO N NEED - ANTISOCIAL PEERS NO 06-13-2023
N-COGNTV Y NEED - COGNITIONS YES 06-13-2023
N-DYSLEX N NEED - DYSLEXIA NO 05-28-2021
N-EDUC N NEED - EDUCATION NO 06-13-2023
N-FIN PV Y NEED - FINANCE/POVERTY YES 06-13-2023
N-FM/PAR N NEED - FAMILY/PARENTING NO 06-13-2023
N-M HLTH N NEED - MENTAL HEALTH NO 06-13-2023
N-MEDICL N NEED - MEDICAL NO 06-13-2023
N-RLF Y NEED - REC/LEISURE/FITNESS YES 06-13-2023
N-SUB AB Y NEED - SUBSTANCE ABUSE YES 06-13-2023
N-TRAUMA Y NEED - TRAUMA YES 06-13-2023
N-WORK Y NEED - WORK YES : 06-13-2023
R-HI HIGH RISK RECIDIVISM LEVEL 06-13-2023

Progress since last review

Inmate Jackson was recommended to enroll in the CDL course this review period. He is currently enrolled in the CDL and the Resolve Workshop
courses. He is on the waiting list for Anger Management; Brain Health As You Age; and K2 Awareness courses.

Next Program Review Goals

Inmate Jackson is recommended to complete the CDL and the Resolve Workshop courses, and in accordance with his needs assessment inmate
Jackson is recommended to enroll in the Anger Management by his next review 12/2023.

Long Term Goals

Inmate Jackson is recommended to enroll/complete the T-Business Management LSCPA course by 4/2025. This course will benefit inmate Jackson in
his transition back into society, once released from custody.

RRC/HC Placement

No.

Other detaining authority will take custody upon release.

Consideration has been given for Five Factor Review (Second Chance Act):

- Facility Resources : There is available Residential Re-Entry Centers (RRC) in his release area.
- Offense : Refer to SENTRY

- Prisoner : Refer to SENTRY

- Court Statement : Refer to J&C

- Sentencing Commission : There is no pertinent policy by the Sentencing Commission.

The Unit Teams recommendation is intended to aid him in implementing his plan for release, which includes securing a residence, employment, and
making a successful reintegration into the community.

Sentry Data as of 06-13-2023 Individualized Needs Plan - Program Review (Inmate Copy) Page 2 of 4

Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 26 of 30 PagelD 334

(Inmate Copy) SEQUENCE: 01895543

Individualized Needs Plan - Program Review
Team Date: 06-13-2023

Dept. of Justice / Federal Bureau of Prisons
Plan is for inmate: JACKSON, MICHAEL DEMON 48182-177

Comments

BP-338 Next Update: Jan 2024
Current Points: 26

Sentry Data as of 06-13-2023 Individualized Needs Plan - Program Review (Inmate Copy) Page 3 of 4
Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 27 of 30 PagelD 335

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 01895543

Dept. of Justice / Federal Bureau of Prisons Team Date: 06-13-2023
Plan is for inmate: JACKSON, MICHAEL DEMON 48182-177

Name: JACKSON, MICHAEL DEMON DNA Status: SEA07010 / 05-27-2015
Register No.. 48182-177
Age: 45

Date of Birth: 07-04-1977

Inmate (JACKSON, MICHAEL DEMON. Register No.: 48182-177)

Date

Unit Manager / Chairperson Case Manager

Date Date

Individualized Needs Plan - Program Review (Inmate Copy) Page 4 of 4

CERTIFICATE OF COMPLETION

AWARDED TO

Michael Jackson

for successful completion of

ZO First Step Act: Traumatic Stress & Resilience 7

at United States Penitentiary, Beaumont

April 7, 2023 aa MA-
Dr. McLarty
Staff Psychologist

OO

Case 3:14-cr-00238-D Document 90 Filed 09/25/23 Page 29 of 30 PagelD 337

[F)
ND

THIS CERTIFIES THAT

MICHAEL JACKSON
HAS SATISFACTORILY COMPLETED Le
CAREER DEVELOPMENT

CONSISTING OF 16 HOURS OF INSTRUCTION

ed 09/25/23

Case 3/il44er-0023840/sDocument 90 Fil

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